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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA



   UNITED STATES OF AMERICA

                       v.                                No. 22-cr-15 (APM)

   EDWARD VALLEJO,
                                Defendant.


             CONSENT MOTION TO MODIFY CONDITIONS OF RELEASE

       Defendant Edward Vallejo respectfully moves to modify his conditions of release to permit

him to travel to his voting location to vote in the Arizona primary election on August 2, 2022 and

the general election on November 8, 2022. The government consents to this request. A proposed

order is attached.

       July 25, 2022                                Respectfully submitted,

                                                    /s/ Matthew J. Peed       .
                                                    Matthew J. Peed (D.C. Bar No. 503328)
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                                                    Counsel for Defendant Edward Vallejo
